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             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT



   AURORA OPERATIONS, INC.,

                        Petitioner,

                            v.

   UNITED STATES DEPARTMENT OF
   TRANSPORTATION; PETE BUTTIGIEG, in
   his official capacity as Secretary of                Case No. 25-1016
   Transportation; FEDERAL MOTOR CARRIER
   SAFETY ADMINISTRATION; VINCENT G.
   WHITE, in his official capacity as Deputy
   Administrator of the Federal Motor Carrier
   Safety Administration; and UNITED STATES
   OF AMERICA,

                     Respondents.


       PETITIONER’S STATEMENT OF THE ISSUES TO BE RAISED

               Pursuant to the Court’s order dated January 10, 2025, Petitioner

  Aurora Operations, Inc. (“Aurora”) states that the issues it expects to raise in

  the proceeding are:

  1.     Whether the Federal Motor Carrier Safety Administration (“FMCSA”)

         decision captioned Parts and Accessories Necessary for Safe

         Operation; Application for an Exemption From Waymo LLC (USDOT

         #3000336) and Aurora Operations, Inc. (USDOT #3441156), Docket
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       No. FMCSA-2023-0071, dated December 26, 2024 and published in

       the Federal Register on December 27, 2024 at 89 Fed. Reg. 105675,

       denying Aurora’s application for exemption of Level 4 autonomous

       trucks from 49 CFR §§ 392.22(b), 393.25(e) and 393.95(f), which

       proposed the use of prominent electronic warning beacons affixed on

       trucks to provide a level of safety that is equivalent to or greater than

       that provided by the existing rule requiring truck drivers to expose

       themselves to danger by placing reflective triangles and/or flares on the

       roadway around a disabled truck regardless of hazardous conditions, is

       arbitrary, capricious or contrary to law, including, among other reasons,

       because:

       A.    FMCSA admitted publicly, during the pendency of Aurora’s

             application, that it “has never conducted experimental research”

             on whether the warning devices required by its rule increase

             safety or even affect driver behavior, that external research so far

             “has yielded inconsistent results” and that “[d]espite these

             inconclusive findings, FMCSA nonetheless requires” that truck

             drivers place physical warning devices on the roadway;

       B.    Record evidence indisputably establishes that truck drivers risk

             serious injury or death complying with the existing rule—a risk

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             eliminated by the application’s approach of activating prominent

             warning beacons without drivers needing to walk on dangerous

             roadways;

       C.    Aurora’s application was supported by evidence that far exceeds

             the (non-existent) data as to the existing rule. Aurora’s support

             included, among other things, a study conducted on public

             roadways, which the FMCSA itself has conceded it has never

             conducted as to the existing rule, and a second study on a closed

             track conducted by the Virginia Tech Transportation Institute, an

             institute FMCSA has described as a “state-of-the-art” research

             center and which FMCSA has recently announced it will be using

             to conduct a study to endeavor to answer the “unresolved”

             question of whether the existing rule actually “improves traffic

             safety and, if so, how and to what extent”, 90 Fed. Reg. 1591,

             1592 (Jan. 8, 2025);

       D.    FMCSA’s articulated grounds for denial conflict with statements

             the agency made to Aurora and other industry members,

             including, among other statements, FMCSA’s insistence that the

             exemption application be industry-wide (but then claiming in the

             denial decision that “industry-wide exemptions are not the

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             norm”), and statements by FMCSA that the study data used in

             Aurora’s on-road study was “wonderful” and “impressive” (but

             then later criticizing that study data in denying the application).

             These conflicting statements are not addressed or explained in

             the agency’s December 26 decision;

       E.    FMCSA has in the past granted exemption where there was

             similar or less supporting data than submitted in support of

             Aurora’s application; and

       F.    FMCSA’s exemption denial undermines the Department of

             Transportation’s policies in favor of safe innovation in the

             autonomous vehicle industry.



                                                (Signature on following page)




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                                          Respectfully submitted,

                                          CRAVATH, SWAINE & MOORE
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                                           by
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  February 10, 2025




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                          CERTIFICATE OF SERVICE

            I, Jeffrey A. Rosen, hereby certify that on this 10th day of February, 2025,

I caused a true and accurate copy of the foregoing to be filed through the Court’s

CM/ECF system, which will serve notice of the filing on counsel for all parties.


                                             Respectfully submitted,

                                             CRAVATH, SWAINE & MOORE
                                             LLP,

                                               by
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